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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE
                                                                )
In re:                                                          ) Chapter 11
                                                                )
CENTER CITY HEALTHCARE, LLC d/b/a                               )
HAHNEMANN UNIVERSITY HOSPITAL, et al.,1                         ) Case No. 19-11466 (KG)
                                                                )
                                  Debtors.                      ) Jointly Administered
                                                                )

         NOTICE OF AGENDA FOR HEARING SCHEDULED FOR JANUARY 6, 2020
              AT 1:00 P.M. (PREVAILING EASTERN TIME) BEFORE THE
           HONORABLE KEVIN GROSS, U.S. BANKRUPTCY COURT JUDGE2,3

  CONTESTED MATTERS GOING FORWARD

  1.      Emergency Motion of Ad Hoc Committee of Hahnemann Residents and Fellows to
          Compel Debtors to Provide Professional Liability Insurance in Accordance with Resident
          Employment Agreements [D.I. 1134; filed: 12/11/19]

          Response Deadline: December 17, 2019 at 12:00 p.m. Extended to January 2, 2020 at
          10:00 a.m. for the Debtors.

          Responses Received:

          A.       The Official Committee of Unsecured Creditors’ (I) Omnibus Objection to
                   Emergency Motion of Ad Hoc Committee of Hahnemann Residents and Fellows
                   to Compel Debtors to Provide Professional Liability Insurance in Accordance
                   with Resident Employment Agreements and (B) The Commonwealth of
                   Pennsylvania Department of Health’s Motion for an Order Compelling Debtors to
                   Obtain Post-Closure Tail Insurance Coverage, and (II) Reply to the Order for
                   Rule to Show Cause Directed to Debtors [D.I. 1189; filed: 12/17/19]


  1
          The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
          number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
          Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
          PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
          Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
          Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
          (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
          230 North Broad Street, Philadelphia, Pennsylvania 19102.
  2
          The hearing will be held at the United States Bankruptcy Court for the District of Delaware, 824 Market
          Street, 6th Floor, Courtroom 3, Wilmington, Delaware 19801.
  3
          Parties who are unable to attend a hearing may request telephonic participation by contacting CourtCall toll
          free by phone (866-582-6878) or by facsimile (866-533-2946).



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        B.       Debtors’ Omnibus Objection and Response to (A) Emergency Motion of Ad Hoc
                 Committee of Hahnemann Residents and Fellows to Compel Debtors to Provide
                 Professional Liability Insurance in Accordance with Resident Employment
                 Agreements, (B) The Commonwealth of Pennsylvania Department of Health’s
                 Motion for an Order Compelling Debtors to Obtain Post-Closure Tail Insurance
                 Coverage and (C) Order for Rule to Show Cause Directed to Debtors [D.I. 1268;
                 filed: 01/02/20]

        Related Documents: None to date

        Status: This matter is going forward.

2.      Commonwealth of Pennsylvania Department of Health’s Motion for an Order
        Compelling Debtors to Obtain Post-Closure Tail Insurance Coverage [D.I. 1141; filed:
        12/11/19]

        Response Deadline: December 17, 2019 at 12:00 p.m. Extended to January 2, 2020 at
        10:00 a.m. for the Debtors.

        Responses Received:

        A.       The Official Committee of Unsecured Creditors’ (I) Omnibus Objection to
                 Emergency Motion of Ad Hoc Committee of Hahnemann Residents and Fellows
                 to Compel Debtors to Provide Professional Liability Insurance in Accordance
                 with Resident Employment Agreements and (B) The Commonwealth of
                 Pennsylvania Department of Health’s Motion for an Order Compelling Debtors to
                 Obtain Post-Closure Tail Insurance Coverage, and (II) Reply to the Order for
                 Rule to Show Cause Directed to Debtors [D.I. 1189; filed: 12/17/19]

        B.       Debtors’ Omnibus Objection and Response to (A) Emergency Motion of Ad Hoc
                 Committee of Hahnemann Residents and Fellows to Compel Debtors to Provide
                 Professional Liability Insurance in Accordance with Resident Employment
                 Agreements, (B) The Commonwealth of Pennsylvania Department of Health’s
                 Motion for an Order Compelling Debtors to Obtain Post-Closure Tail Insurance
                 Coverage and (C) Order for Rule to Show Cause Directed to Debtors [D.I. 1268;
                 filed: 01/02/20]

        Related Documents: None to date

        Status: This matter is going forward.




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3.      Order for Rule to Show Cause Directed to Debtors [D.I. 1169; signed and docketed:
        12/16/19]

        Responses Received:

        A.       The Official Committee of Unsecured Creditors’ (I) Omnibus Objection to
                 Emergency Motion of Ad Hoc Committee of Hahnemann Residents and Fellows
                 to Compel Debtors to Provide Professional Liability Insurance in Accordance
                 with Resident Employment Agreements and (B) The Commonwealth of
                 Pennsylvania Department of Health’s Motion for an Order Compelling Debtors to
                 Obtain Post-Closure Tail Insurance Coverage, and (II) Reply to the Order for
                 Rule to Show Cause Directed to Debtors [D.I. 1189; filed: 12/17/19]

        B.       Debtors’ Omnibus Objection and Response to (A) Emergency Motion of Ad Hoc
                 Committee of Hahnemann Residents and Fellows to Compel Debtors to Provide
                 Professional Liability Insurance in Accordance with Resident Employment
                 Agreements, (B) The Commonwealth of Pennsylvania Department of Health’s
                 Motion for an Order Compelling Debtors to Obtain Post-Closure Tail Insurance
                 Coverage and (C) Order for Rule to Show Cause Directed to Debtors [D.I. 1268;
                 filed: 01/02/20]

        Status: This matter is going forward.




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Dated: January 2, 2020                   SAUL EWING ARNSTEIN & LEHR LLP

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